                        UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION


UNITED STATES OF AMERICA,                                       )
                                                                )
               Plaintiff,                                       )
      vs.                                                       )
Howard Youngblood                                               ) Case No. 13-00273-08-CR-W-DGK
                                                                )
               Defendant.                                       )

                                       RELEASE ORDER

    For good and sufficient cause, as shown by the U.S. Probation Office in its memorandum of March
26, 2015, it is hereby ORDERED that Howard Youngblood, be released from custody of the U.S.
Marshals Service upon arrangements with the U.S. Probation Office.




                                                                       /s/ Greg Kays
                                                                       GREG KAYS
                                                                CHIEF U.S. DISTRICT JUDGE




Dated at Kansas City, Missouri, this          27th     day of        March       , 2015.



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